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 6
 7                    IN THE UNITED STATES DISTRICT COURT
 8                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 9   UNITED STATES OF AMERICA,          )
                                        ) Cr. No. 07-170
10           Plaintiff,                 )
                                        ) STIPULATION AND ORDER
11      v.                              ) CONTINUING STATUS CONFERENCE
                                        ) AND EXCLUDING TIME UNDER THE
12   JUAN CAMACHO, et al                ) SPEEDY TRIAL ACT
                                        ) (April 6, 2010 at 9:15 AM
13                                      ) before Judge Karlton)
             Defendant,                 )
14   ___________________________________)
15
16          A status conference is now set for February 23, 2010.
17   The Defendant is housed at the Butte County Jail in Oroville CA.
18   In order to resolve the case, Defendant, his counsel and an
19   interpreter must review a number of wiretaps and some of the 2500
20   pages of discovery in the case.       For that reason, the parties
21   request the following stipulation be approved.
22        IT IS STIPULATED between the plaintiff, United States of
23   America and the Defendant, by and through their counsel, that the
24   status conference be continued to April 6, 2010 at 9:15 AM
25        It is further stipulated that time from the date of this
26   stipulation through April 6, 2010 shall be excluded from the time
27   when trial must be commenced under the Speedy Trial Act because
28                                         1
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 1   the case is so unusual or complex within the meaning of the Speedy
 2   Trial Act, and for defense preparation.        The parties stipulate that
 3   these are appropriate exclusions within the meaning of Title 18,
 4   U.S. Code Section 3161 (h) (7) (A) and (B) (ii) and (iv), and Local
 5 Codes T2 and T4.
 6 Dated February 19, 2010
 7     s/s CAROLYN DELANEY                        s/s J TONEY
       Carolyn Delaney                             J Toney
 8 First Assistant U.S. Attorney                Attorney for Defendant
 9                                 ORDER
10       Based on the stipulation of the parties and good cause
11 appearing, the Court adopts the above stipulation in its entirety
12 as its order.     The Court further finds for the reasons given that
13 failure to allow this continuance would deny counsel time for
14 effective preparation and that the ends of justice outweigh the
15 interest of the public and defendants in a speed trial. SO ORDERED.
16
17 DATED: February 22, 2010
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